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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                              BILLINGS DIVISION



 UNITED STATES OF AMERICA,                    Cause No. CR 06-16-BLG-SPW


              Plaintiff,

       vs.                                                ORDER


 JULIAN TIM MATHIS,

              Defendant.



      Defendant Mathis moves the Court for compassionate release under 18

U.S.C. § 3582(c)(1)(A) in light of the COVID-19 outbreak. After initially stating

it would oppose the motion,see Mot.(Doc. 909)at 2, the United States conceded

that Mathis meets the criteria for release,see Resp.(Doc. 914)at 1-2. Mathis has

been accepted for release to the Northern District of Georgia. See Letter(Doc.

919-l)at 1.

      On January 4, 2021, the United States was ordered to ensure that Mathis

"receives a COVID test" within seven days and to advise the Court if Mathis

becomes ill or tests positive at any time prior to his release. See Order(Doc. 921)

at 1-2. On January II, 2021, the United States informed the Court that Mathis

tested negative for COVID-19 on December 29, 2020(Doc. 922). The United
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